 Case 2:90-cv-00520-KJM-SCR               Document 6060          Filed 01/02/19       Page 1 of 1
                            UNITED STATES DISTRICT COURT
                                      FOR THE
                           EASTERN DISTRICT OF CALIFORNIA

                                   OFFICE OF THE CLERK
                                        501 "I" Street
                                    Sacramento, CA 95814


RALPH COLEMAN,
        Plaintiff

   v.                                                    CASE NO. 2:90−CV−00520−KJM−DB

CALIFORNIA CORRECTIONAL PEACE
OFFICERS ASSOCIATION, ET AL.,
        Defendant




        You are hereby notified that a Notice of Appeal was filed on December 28, 2018
   in the above entitled case. Enclosed is a copy of the Notice of Appeal, pursuant
   to FRAP 3(d).



 January 2, 2019

                                      MARIANNE MATHERLY
                                      CLERK OF COURT

                                   by: /s/ R. Henshaw
                                      Deputy Clerk
